      Case 4:16-cv-03056 Document 19 Filed on 03/13/18 in TXSD Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                            UNITED STATES DISTRICT COURT                                March 13, 2018
                             SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                 HOUSTON DIVISION

STEPHEN SWINTON,                                §
                                                §
        Plaintiff,                              §
VS.                                             §            CIVIL ACTION NO. 4:16-CV-3056
                                                §
PATIENT ACCOUNTING SERVICE                      §
CENTER, LLC D/B/A ARSTRAT,                      §
                                                §
        Defendants.

                                   ORDER OF DISMISSAL


      In accordance with the Joint Stipulation filed on December 4, 2017 , (Doc # 18), it is

hereby ORDERED that this action be dismissed with prejudice, pursuant to Rule 41(a)(1)(A)(ii)

of the Federal Rules of Civil Procedure.




       It is so ORDERED. 03/13/2018.


                                                 ___________________________________
                                                 The Honorable Alfred H. Bennett
                                                 United States District Judge




1/1
